                                                              Case No. 19-MJ-00114-MJW (JTM)

                                           AFFIDAVIT

     I, Detective Steve Cook, the undersigned affiant being duly sworn, state the following is true
and correct to the best of my knowledge and belief:

     1. I am a police officer with the Independence, Missouri, Police Department (“IPD”), since
        August 1993, and I am currently assigned as a detective with the Criminal Investigations
        Bureau. In connection with my official duties, I have conducted and/or participated in
        numerous state and federal investigations involving controlled substances and firearms,
        including the execution of state and federal search and arrest warrants.

     2. The information in this affidavit is based on my personal knowledge and information
        provided to me by other law enforcement officers and individuals. I have included only
        the information that I believe is necessary to establish probable cause. The information is
        not a complete statement of all the facts related to this case.

     3. I submit this affidavit in support of a complaint for an arrest warrant for Zoram Sepulveda.
        Based on the facts below, I believe there is probable cause to believe Sepulveda illegally
        possessed a firearm and ammunition while an unlawful user of or addicted to a controlled
        substance, in violation of 18 U.S.C. § 922 (g)(3).

     4. On June 28, 2019, at approximately 1053 hours, IPD Officer Evan Bateman was
        conducting speed enforcement in the area of northbound 291 at Truman Road. At that
        time, Officer Bateman observed a white Ford Focus tailgating a vehicle in the left lane of
        northbound 291 approaching Truman Road. The Ford Focus started to pass the vehicle in
        the right lane at which time Officer Bateman used his laser radar device and got a reading
        that the Ford Focus’ speed was 79 MPH in a 50 MPH zone.

     5. Officer Bateman stepped to the side of his marked police motorcycle and placed the laser
        in his saddlebag while maintaining a visual on the vehicle as it approached. Officer
        Bateman then got on his motorcycle and began to put the kickstand up. The driver of the
        Ford Focus made eye contact with Officer Bateman and then attempted to quickly slow
        and exit onto the Truman Road exit directly behind Officer Bateman’s motorcycle.

     6. The Ford Focus was traveling too fast and began to skid in the debris left in the triangle
        shaped shoulder behind the motorcycle. The Ford Focus came to a stop approximately 4
        feet behind the motorcycle and Officer Bateman put the kickstand down and dismounted
        from the motorcycle and quickly approached the vehicle on the passenger side. The
        window was down and the driver was the sole occupant.

     7. Upon making contact Officer Bateman observed a silver revolver in the driver’s left hand
        and a Glock handgun lying on the subject’s right leg. Officer Bateman drew his sidearm
        and ordered the subject to put his hands on the steering wheel. The subject dropped the
        revolver onto his lap and looked at Officer Bateman while keeping both hands open inches




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   above the firearms. Officer Bateman ordered the subject a second time to put his hands
   on the steering wheel and the subject did not comply. The driver then quickly reached for
   the shifter and placed the vehicle in gear and took off northbound on 291.

8. Officer Bateman got back onto his motorcycle and pursued the white Ford Focus,
   Missouri license MR4-B3E. The Ford Focus fled into the GEO Space industrial facility
   (the “caves”). Officer Bateman terminated the pursuit inside of the caves after he lost
   radio signal and was unable to make contact with dispatch or other Officers. Officer
   Bateman was able to provide responding officers with a description of the subject driving
   the white Ford Focus as being a black male wearing a grey sleeveless shirt with tattoos
   on his arms.

9. A perimeter was established around the GEO Space facility and the structure was placed
   on lockdown. Every entrance/exit to the facility was covered by officers with the
   Independence Police Department. K-9 Units from the Jackson County, Missouri, Sheriff’s
   Office and Oak Grove, Missouri, Police Department were also deployed. All vehicles
   leaving the facility were checked while search teams entered the facility to search for the
   suspect.

10. A maintenance worker advised that he had observed a black male wearing a fishing hat
    and a gray shirt running north near the interior address of 3011 E. Officers responded to
    that area and located the white Ford Focus abandoned and still running at bay 3011 E
    Dock 7.

11. At approximately 1128 hours, a subject later identified as Zoram Sepulveda approached
    the Salisbury Road exit to the caves facility. The subject was not wearing a shirt and was
    sweating profusely. The subject had on black shorts and black Nike tennis shoes.
    Detective Cook had viewed surveillance video from the Geo Space facility of the subject
    that had fled from the vehicle that Officer Bateman had chased and confirmed that the
    shorts, tennis shoes and tattoos matched Sepulveda. It was further apparent that Sepulveda
    had discarded clothing items inside the caves somewhere between the vehicle and the
    Salisbury Road exit. Officer Bateman also responded and positively identified Sepulveda
    as the subject Officer Bateman had pursued after observing the subject in possession of
    two firearms in the subject’s vehicle.

12. A police tow was ordered for the white Ford Focus and an inventory was conducted.
    During the inventory neither of the firearms observed by Officer Bateman during initial
    contact with Sepulveda were located. A backpack was located in the back passenger side
    seat of the vehicle. Inside the main compartment of the backpack, was a Glock extended
    magazine containing 17 rounds of .40 caliber ammunition.

13. SWAT Officer Jason Smith was searching the area between the vehicle that Sepulveda
    had abandoned and the Salisbury exit and while checking a MidContinent Paper tractor
    trailer backed into the docks at 4109 E (Dock 12) he observed what appeared to be a
    phone charging cable on the ground along with items of trash from Hardees. Upon closer
    inspection of the area Officer Smith observed the hat described by Officer Bateman as

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   being worn by Sepulveda and the grey shirt with black hood Sepulveda had been wearing
   shoved up into the frame by the rear axles of the truck. In surveillance video from the
   caves Sepulveda can be observed carrying what appears to be a brown paper bag
   consistent with the Hardees bag.

14. Officers then conducted a search for the firearms between the area that the vehicle was
    abandoned by Sepulveda (3011 E, Docks 7-8) and where his shirt and hat were located
    concealed underneath a tractor-trailer (4109 E, Docks 12-13). On the route traveled by
    Sepulveda, between the vehicle and the Salisbury Road exit, Detective Baker located a
    Glock firearm inside the housing for two large industrial ventilation fans. The firearm was
    a Glock 23, .40 caliber semi-automatic handgun with serial number LBA626. The firearm
    had “IPD” stamped on the slide. The firearm was loaded with 12 rounds of ammunition.
    All of the rounds in the firearm were the same and they all matched one (1) round that
    was in the extended magazine recovered from the abandoned vehicle. The revolver was
    never located.

15. After Sepulveda was transported to the IPD detention facility, and during his intake there,
    Detention Officer Simmons located a small zip-lock baggie containing a white powdery
    substance inside of Sepulveda’s wallet. Detective Cook recovered the substance and
    Detective Leach conducted a TruNarc scan of the substance which showed positive for
    methamphetamine. The approximate field weight of the substance was 1.55 grams.

16. Detective Cook conducted a records check of Sepulveda through the Independence Police
    Department for past arrests and reports. During that check Detective Cook located a
    pattern of conduct by Sepulveda involving thefts of firearms during the commission of
    burglaries, drug possession and use and non-compliance with Police Officers to include
    resisting arrest. During a custodial interview with Sepulveda on November 17, 2017,
    regarding a stolen motorcycle Sepulveda admitted to Detectives that he had a history of
    drug use.
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17. On June 06, 2019, at approximately 0751 hours, Detective Cook conducted an interview
    with Sepulveda. Prior to the interview Sepulveda was read his Miranda rights and agreed
    to speak with Detective Cook. During the interview Sepulveda made the following
    statements, in sum and substance, among others:

       a. Sepulveda admitted to being a drug user since he graduated from high school in
          2007. Sepulveda admitted that he uses methamphetamine and that he smokes it
          and that he last used methamphetamine on June, 28, 2019;
       b. When asked about what had happened on June 28, 2019, relating to the police
          pursuit and the possession of two firearms, Sepulveda advised that he wanted to
          talk to a lawyer. The interview was then terminated.




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    18. On June 29 and 30, 2019, Detective Cook contacted Supervisory S/A Matthew Wilson
        with the Bureau of Alcohol, Tobacco, Firearms, and Explosives, reference the origin of
        the Glock 23, .40 caliber semi-automatic handgun. SA Wilson advised that neither the
        firearm nor ammunition was manufactured in the State of Missouri, and therefore would
        have traveled across state lines before being seized from Sepulveda.

       FURTHER, YOUR AFFIANT SAYETH NOT.

                                          ______________________________________
                                          Steve Cook, Detective
                                          Independence Police Department
                                         1st             July
Subscribed to and sworn to before me this _____ day of _________ 2019.


______________________________
Honorable John T. Maughmer
United States Magistrate Judge
Western District of Missouri




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